           Case 8:21-bk-11710-ES Doc 179 Filed 08/07/22 Entered 08/07/22 21:13:28                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 14
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 21-11710-ES
Jamie Lynn Gallian                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 05, 2022                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 07, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
db                     + Email/PDF: jamiegallian@gmail.com
                                                                                        Aug 06 2022 00:12:00      Jamie Lynn Gallian, 16222 Monterey Ln Unit 376,
                                                                                                                  Huntington Beach, CA 92649-2258

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 07, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 5, 2022 at the address(es) listed
below:
Name                               Email Address
Aaron E DE Leest
                                   on behalf of Trustee Jeffrey I Golden (TR) adeleest@DanningGill.com danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Bert Briones
                                   on behalf of Debtor Jamie Lynn Gallian bb@redhilllawgroup.com
                                   helpdesk@redhilllawgroup.com;RedHillLawGroup@jubileebk.net

Brandon J Iskander
                                   on behalf of Plaintiff The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com

Brandon J Iskander
                                   on behalf of Creditor The Huntington Beach Gables Homeowners Association biskander@goeforlaw.com
                                   kmurphy@goeforlaw.com
          Case 8:21-bk-11710-ES Doc 179 Filed 08/07/22 Entered 08/07/22 21:13:28                                                      Desc
                              Imaged Certificate of Notice Page 2 of 14
District/off: 0973-8                                         User: admin                                                            Page 2 of 2
Date Rcvd: Aug 05, 2022                                      Form ID: pdf042                                                       Total Noticed: 1
D Edward Hays
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
                             on behalf of Interested Party Courtesy NEF ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
                             on behalf of Plaintiff Houser Bros. Co. ehays@marshackhays.com
                             ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Eric P Israel
                             on behalf of Trustee Jeffrey I Golden (TR) eisrael@DanningGill.com danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Jeffrey I Golden (TR)
                             lwerner@wgllp.com jig@trustesolutions.net;kadele@wgllp.com

Laila Masud
                             on behalf of Plaintiff Houser Bros. Co. lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                             on behalf of Interested Party Courtesy NEF lmasud@marshackhays.com
                             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor
                             on behalf of Interested Party Courtesy NEF mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Mark A Mellor
                             on behalf of Defendant Randall L Nickel mail@mellorlawfirm.com mellormr79158@notify.bestcase.com

Robert P Goe
                             on behalf of Plaintiff The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe
                             on behalf of Creditor The Huntington Beach Gables Homeowners Association kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Valerie Smith
                             on behalf of Interested Party Courtesy NEF claims@recoverycorp.com


TOTAL: 18
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    D. EDWARD HAYS, #162507
  1 ehays@marshackhays.com
    LAILA MASUD, #311731
  2 lmasud@marshackhays.com                                FILED & ENTERED
    BRADFORD N. BARNHARDT, #328705
  3 bbarnhardt@marshackhays.com
    MARSHACK HAYS LLP                                              AUG 05 2022
  4 870 Roosevelt
    Irvine, CA 92620                                        CLERK U.S. BANKRUPTCY COURT
  5 Telephone: (949) 333-7777                               Central District of California
                                                            BY jle        DEPUTY CLERK
    Facsimile: (949) 333-7778
  6
    Attorneys for Movant and Creditor,
  7 HOUSER BROS. CO. dba RANCHO DEL
    REY MOBILE HOME ESTATES
  8
                              UNITED STATES BANKRUPTCY COURT
  9
                  CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
 10
      In re                                    Case No. 8:21-bk-11710-ES
 11
      JAMIE LYNN GALLIAN,                      Chapter 7
 12
                      Debtor.                  ORDER GRANTING HOUSER BROS. CO.
 13                                            DBA RANCHO DEL REY MOBILE HOME
                                               (67$7(6¶6 MOTION OBJECTING TO
 14                                            '(%725¶6&/$,0('+20(67($'
                                               EXEMPTION IN 16222 MONTEREY LANE,
 15                                            SPACE #376, HUNTINGTON BEACH, CA
                                               92649, DOCKET NO. 95
 16

 17                                                     HEARING DATE
                                                        Date: July 21, 2022
 18                                                     Time: 10:30 a.m.
                                                        Ctrm: 5A
 19                                                     Location: 411 W. Fourth Street, Santa Ana, CA
                                                        92701
 20

 21

 22         On May 12, 2022, Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
 23 ³+RXVHU%URV´ ILOHGD³0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG+RPHVWHDG([HPSWLRQ´

 24 ³0RWLRQ´ 'RFNHW1R7KH0RWLRQZDVVHWIRUKHDULQJRQ-XQHDWDP

 25 Docket No. 99.

 26         2Q0D\7KH+XQWLQJWRQ%HDFK*DEOHV+RPHRZQHUV$VVRFLDWLRQ ³+2$´ 
 27 ILOHGD³-RLQGHUWR+RXVHU%URV&RGED5DQFKR'HO5H\0RELOH+RPH(VWDWHV¶0RWLRQ

 28 2EMHFWLQJWR'HEWRU¶V&ODLPHG+RPHVWHDG([HPSWLRQ´ ³+2$-RLQGHU´ 'RFNHW1R


                                                    1
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  1         On May -DQLQH-DVVR ³0V-DVVR´DQGWRJHWKHUZLWKWKH+2$WKH³-RLQLQJ
  2 3DUWLHV´ ILOHGD³-RLQGHUWR+RXVHU%URV&RGED5DQFKR'HO5H\0RELOH+RPH(VWDWHV¶
  3 0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG+RPHVWHDG([HPSWLRQ´ ³-DVVR-RLQGHU´ 'RFNHW1R
  4 100.
  5         2Q-XQH-DPLH/\QQ*DOOLDQ ³'HEWRU´ ILOHG³'HEWRUV5HSO\2SSRVLWLRQ
  6 Memorandum of Points and Authorities to Houser Bros. Co. dba Rancho Del Rey Mobile Home
  7 (VWDWHV¶0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG+RPHVWHDG([HPSWLRQDQG-RLQGHU3DUWLHV
  8 +XQWLQJWRQ%HDFK*DEOHV+2$-DQLQH-DVVR´ ³2SSRVLWLRQ´ 'RFNHW1R

  9         On June 2, 2022, at 10:30 a.m., the Court conducted a hearing on the Motion. All
 10 appearances were as noted on the record. Before the hearing, the Court published a tentative

 11 ruling to continue the hearing on the Motion to July 21, 2022, at 10:30 a.m. to allow Houser

 12 %URVDQGWKH-RLQLQJ3DUWLHVWRILOHDUHSO\WR'HEWRU¶VODWH2SSRVLWLRQ7KH&RXUW¶VWHQWDWLYH

 13 ruling cautioned thaW³>Q@RRWKHUSOHDGLQJVPD\EHILOHG´DQGWKDW³LQWKHIXWXUHWKHFRXUWwill

 14 not consider any pleadings filed by Debtor after the day they are due´

 15         2Q-XQHWKH&RXUWHQWHUHGDQ³2UGHU&RQWLQXLQJ+HDULQJRQ0RWLRQ2EMHFWLQJ
 16 WR'HEWRU¶V&ODLPHG +RPHVWHDG([HPSWLRQ´ ³-XQH2UGHU´ ZKLFKDWWDFKHGDFRS\

 17 RIWKH&RXUW¶VWHQWDWLYHUXOLQJfor the June 2, 2022, hearing. Docket No. 124. The June 23, 2022,

 18 Order, provided as follows:

 19         1)      The hearing on the Motion is continued to July 21, 2022, at 10:30 a.m. to allow
 20                 +RXVHU%URVDQGRUWKH-RLQLQJ3DUWLHVWRILOHDUHSO\UHSOLHVWR'HEWRU¶VODWH
 21                 opposition filed on June 1, 2022;
 22         2)      Any replies by Houser Bros. or the Joining Parties must be filed by July 7, 2022;
 23                 and
 24         3)      No other pleadings may be filed regarding the Motion. Docket No. 124.
 25         2Q-XQH&KDSWHU7UXVWHH-HIIUH\,*ROGHQILOHG³7UXVWHH¶V-RLQGHULQ+RXVHU
 26 %URV&RGED5DQFKR'HO5H\0RELOH+RPH(VWDWHV¶0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG
 27 +RPHVWHDG([HPSWLRQ´ ³7UXVWHH-RLQGHU´ Docket No. 128.

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  1             2Q-XO\WKH+2$ILOHGD³5HSO\WR'HEWRU¶V2SSRVLWLRQWR0RWLRQ2EMHFWLQJWR
  2 'HEWRU¶V&ODLPHG+RPHVWHDG([HPSWLRQ´ ³+2$5HSO\´ 'RFNHW1R
  3             That same day, Houser Bros. filed:
  4             1)     ³5HSO\WR'HEWRU¶V2SSRVLWLRQWR0RWLRQ2EMHFWLng to Claimed Homestead
  5                    ([HPSWLRQ´ ³+RXVHU%URV5HSO\´ 'RFNHW1R
  6             2)     ³'HFODUDWLRQRI9LYLHQQH-$OVWRQ5H0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG
  7                    +RPHVWHDG([HPSWLRQ´ ³$OVWRQ'HFODUDWLRQ´ 'RFNHW1R
  8             3)     ³'HFODUDWLRQRI*UHJ%X\VPDQ 5H0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG
  9                    +RPHVWHDG([HPSWLRQ´ ³%X\VPDQ'HFODUDWLRQ´ 'RFNHW1RDQG
 10             4)     ³'HFODUDWLRQRI&KULV+RXVHU5H0RWLRQ2EMHFWLQJWR'HEWRU¶V&ODLPHG
 11                    +RPHVWHDG([HPSWLRQ´ ³+RXVHU'HFODUDWLRQ´ 'RFNHW1R
 12             On July 8, 2022'HEWRUILOHGDQXQDXWKRUL]HG³5HSO\WR*UHJ%X\VPDQ&$1RWDU\
 13 3XEOLF&RPPLVVLRQ1XPEHU2ZQHU 2SHUDWRUWKH8366WRUH(GLQJHU6SULQJGDOH´

 14 Docket No. 134.1

 15             Before the July 21, 2022, hearing, the Court published a tentative ruling to grant the
 16 0RWLRQ$WUXHDQGFRUUHFWFRS\RIWKH&RXUW¶VWHQWDWLYHUXOLQJIRUWKH-XO\KHDULQJLV

 17 attached as Exhibit 1.

 18             On July 21, 2022, at 10:30 a.m., the Court held a continued hearing on the Motion.
 19 Appearances were as noted on the record. During the hearing, all parties were given an

 20 opportunity to be heard. The Court, having read and considered the Motion, the HOA Joinder,

 21 the Jasso Joinder, the Opposition, the Trustee Joinder, the HOA Reply, the Houser Bros. Reply,

 22 the Alston Declaration, the Buysman Declaration, and the Houser Declaration, and all other

 23 pleadings and papers filed in this case, and having heard the arguments made on the record

 24 during the July 21, 2022, hearing, for the set forth in the motion and reply papers, the attached

 25 tentative ruling, and on the record during the hearing, the Court enters its order as follows:

 26
      1
          The Court did not formally consider this pleading because Debtor filed it in violation of the June
 27       2UGHU¶VUHTXLUHPHQWWKDWQRRWKHUSOHDGLQJVZHUHWREHILOHGRWKHUWKDQUHSOLHVE\+RXVHU
 28       Bros. and the Joining Parties. Even if the Court were to consider this improper pleading, the
          HYLGHQFHSUHVHQWHGWKHUHLQZRXOGKDYHEHHQLQVXIILFLHQWWRDOWHURUFKDQJHWKH&RXUW¶VUXOLQJ

                                                           3
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  1         IT IS ORDERED that the Motion is granted and Houser Bros.¶Vobjection in the Motion
  2 WR'HEWRU¶VFODLPHGKRPHVWHDGH[HPSWLRQLQ16222 Monterey Lane, Space #376, Huntington
  3 Beach, CA 92649 pursuant to § 704.730 of the California Code of Civil Procedure is sustained.
  4 Any claim of exemption by Debtor in the Property is disallowed.
  5                                                ###
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 23   Date: August 5, 2022

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                                                    EXHIBIT 1
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